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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Davontae Ross, et al.,

                                   Plaintiff(s),
v.                                                     Case No. 2:19−cv−11076−LJM−EAS
                                                       Hon. Laurie J. Michelson
Nancy M. Blount, et al.,

                                   Defendant(s),



                                      NOTICE TO APPEAR

   You are hereby notified to appear before District Judge Laurie J. Michelson at the United
States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Room
212, Detroit, Michigan, for the following proceeding(s):

      • STATUS CONFERENCE: November 17, 2021 at 09:00 AM

   ADDITIONAL INFORMATION: If counsel would like to participate by phone, they can
dial into the Eastern District of Michigans telephone conference system at (866) 434−5269.
The system will then provide directions for joining the call; when asked for an access code,
use 9819334.



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/Erica L Parkin
                                                   Case Manager

Dated: November 5, 2021
